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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
DALE SKYLLINGSTAD, JUDGMENT ON JURY VERDICT
Plaintiff, CASE NO. CV18-0648BHS

Vv.

NATIONAL RAILROAD PASSENGER
CORPORATION, d/b/a AMTRAK,

Defendant.

 

 

 

XX JURY VERDICT. This action came to consideration before the Court for a trial by jury.

The issues have been considered and a decision has been rendered.

DECIDED BY THE COURT. This action came to consideration before the Court. The
issues have been considered and a decision has been rendered.

The Jury found Dale Skyllingstad’s damages to be:
Past and Future Economic Damages $ 750,000
Past and Future Non-Economic Damages $7,000,000

Dated this 13th day of September, 2019.

William M. McCool
Clerk of Courts: SEER.

   

Judgment

 
